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                                                 EXHIBIT B
            Plaintiff’s Proposed Constructions and Citations to Evidence for Claim Terms in
                               U.S. Patent No. 6,724,435 (the “’435 Patent)


No.       Claim Terms                    Plaintiff’s Proposed               Plaintiff’s Intrinsic and Extrinsic
                                         Construction                       Evidence1

1.        “individual color”             A linear combination of colors      Intrinsic Evidence:
                                         or color components, such as
                                         red, green, blue, yellow, cyan,        All claims in which this term
                                         and magenta.                            appears

                                                                                ‘012 Patent, Abstract
                                                                                ‘012 Patent, Fig. 1
                                                                                ‘012 Patent, 1:12-52; 2:42-64;
                                                                                 4:18-38; 4:45-51; 4: 60-63;
                                                                                 4:64-5:49; 5:23-39; 5:40-49;
                                                                                 6:27-55; 7:1-8:13; 8:36-39;
                                                                                 8:55-67; 9:32-50; 10:4-24;
                                                                                 10:25-11:30; 11:36-37; 12:30-
                                                                                 51; 12:52-13:37; 15:21-26;
                                                                                 15:31-37; 15:51-16:32; 17:8-20


                                                                                ‘435 Patent, Abstract
                                                                                ‘435 Patent, 1:8-2:7; 2:33-37;
                                                                                 2:61-67; 4:41-47; 4:55-5:12;
                                                                                 6:2-26; 6:40-7:14; 8:39-52;
                                                                                 9:15-33; 10:25-43; 10:53-60;
                                                                                 14:30-45; 20:39-42; 21:19-34;
                                                                                 25:66-26:10



2.        “without affecting the hue     See “individual color,” “hue”       Intrinsic Evidence:
          or the saturation of any       and “saturation.”
          other individual color”                                                   All claims in which this term
                                         without affecting the hue or the            appears
                                         saturation of any other

      1
       The citations to intrinsic evidence herein are exemplary, and Plaintiff intends to rely on all
      related citations that are substantially similar to the excerpts identified in this chart.
      Additionally, Plaintiff Lone Star reserves the right to reply upon any or all references cited by
      Defendants.
                                                          1
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                                individual color, that was not          ‘435 Patent, Abstract
                                selected to be changed                  ‘435 Patent, 1:57-2:7; 2:8-
                                                                         30; 2:52-67; 3:1-7; 3:41-51;
                                                                         4:24-32; 4:55-5:12; 5:38-42;
                                                                         5:43-65; 8:25-62; 12:9-15;
                                                                         25:66-26:10



3.     “arbitrary interval of   A range between two whole        Intrinsic Evidence:
       integers”                numbers.
                                                                        All claims in which this term
                                                                         appears

                                                                        ‘435 Patent, claim 7
                                                                        ‘435 Patent, Abstract
                                                                        ‘435 Patent, 7:45-55; 8:4-14


4.     “characterizing”         Not indefinite.                  Intrinsic Evidence:

                                Plain and ordinary meaning          All claims in which this term
                                                                     appears
                                Or, in the alternative:
                                specifying                          ‘012 Patent, Abstract
                                                                    ‘012 Patent, Fig. 1
                                                                    ‘012 Patent, 2:25-41; 4:17-63;
                                                                     8:15-16; 12:25-29

                                                                    ‘435 Patent, Abstract
                                                                    ‘435 Patent, Fig. 1
                                                                    ‘435 Patent, 1:28-57; 2:43-51;
                                                                     2:61-67; 3:8-21; 4:34-40; 6:2-
                                                                     26; 6:40-7:17; 9:1-5; 9:51-57;
                                                                     12:41-49; 12:58-13:5; 13:32-39;
                                                                     16:17-26; 16:52-17:4; 20:57-60;
                                                                     23:10-26; 23:60-64

                                                                 Extrinsic Evidence:

                                                                 THE SCIENCE OF COLOR (Steven
                                                                 Shevell ed., Elsevier 2d ed. 2003)

                                                                 Adobe Sys. Inc., Matching RGB
                                                                 Color from Monitor to Printer,
                                               2
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                                                                   Technical Note #5122, Feb. 14,
                                                                   1992.


5.     “Input image pixel”           Plain and ordinary meaning.   Intrinsic Evidence:

                                                                      All claims in which this term
                                                                       appears

                                                                      ‘012 Patent, Abstract
                                                                      ‘012 Patent, Fig. 1
                                                                      ‘012 Patent, 1:59-3:27; 4:11-
                                                                       17:44


                                                                      ‘435 Patent, Abstract
                                                                      ‘435 Patent, 3:8-4:54; 6:40-8:3,
                                                                       8:53-26:65




6.     “Forming a corresponding      No construction necessary.    Intrinsic Evidence:
       plurality of output image
       pixels having said selected                                    All claims in which this term
       individual color”                                               appears

                                                                      ‘012 Patent, Abstract
                                                                      ‘012 Patent, Fig. 1
                                                                      ‘012 Patent, 1:59-3:27; 4:11-
                                                                       17:44


                                                                      ‘435 Patent, Abstract
                                                                      ‘435 Patent, 3:8-4:54; 6:40-8:3,
                                                                       8:53-26:65



7.     “By performing arithmetic     Not indefinite. Plain and     Intrinsic Evidence:
       and logical operations”       ordinary meaning.
                                                                      All claims in which this term
                                                                       appears

                                                                      ‘435 Patent, Abstract

                                                   3
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                                                                             ‘435 Patent, 3:8-4:32; 9:34-61;
                                                                              10:25-11:30.



8.      “Evaluating” and                Not indefinite. Plain and         Intrinsic Evidence:
        “Evaluated”                     ordinary meaning.
                                                                             All claims in which this term
                                                                              appears

                                                                             ‘012 Patent, Abstract
                                                                             ‘012 Patent, Fig. 1
                                                                             ‘012 Patent, 1:59-3:27; 4:11-
                                                                              17:44


                                                                             ‘435 Patent, Abstract
                                                                             ‘435 Patent, 1:19-29; 3:8-4:33;
                                                                              4:41-54; 5:67-6:26; 11:41-12:9;
                                                                              12:58-13:5, 13:40-58; 14:30-48;
                                                                              15:20-39; 16:11-17:3; 17:5-25;
                                                                              18:1-19:16; 20:5-19; 21:20-
                                                                              22:13; 22:36-54; 23:11-24:16 ;
                                                                              24:41-60; 25:16-35.


9.      “viewer”                        Graphic user interface (GUI)      Intrinsic Evidence:
                                        menu display, configured on a
                                        man-machine interaction                  All claims in which this term
                                        (MMI) mechanism.                          appears

                                                                                 ‘435 Patent, Abstract
                                                                                 ‘435 Patent, 3:55-65; 4:55-
                                                                                  65; 11:46-64; 26:21-37, 48-
                                                                                  55

10.     As applied to Claim 17: The                                       Intrinsic Evidence:
        combination of method steps     Not indefinite. Claim 17
        and system elements in a        contains permissible functional          All claims in which this term
        single system claim:            limitations that describe the             appears
        operating said master control   system by reciting its
        device . . .;                   capabilities. MasterMine                 ‘435 Patent, Abstract
        selecting an independent        Software, Inc. v. Microsoft              ‘435 Patent, 3:55-65; 4:55-
        color hue control delta value   Corp., 874 F.3d 1307, 1313                65; 11:46-64; 26:21-37, 48-
        or an independent color         (Fed. Cir. 2017).                         55
                                                      4
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  saturation control delta value
  . . .;
  identifying a plurality of said
  input image pixels . . .;
  determining corresponding
  output image pixel values . .
  .;
  displaying a real time digital
  video output image . . .




                                      5
